Case 1:17-cv-00384-JAP-JHR Document 87-1 Filed 05/08/18 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
DENNIS MURPHY, Guardian Ad Litem
For N.E. D., an incapacitated minor; JACOB DOTSON;
DOMINIQUE BILLY, individually and as next friend of I.C. and
S.D., minors,

Plaintiffs, No. 17-cv-384 JAP-JHR
vs.

THE UNITED STATES OF AMERICA,

Defendant,

PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO
DEFENDANT UNITED STATES OF AMERICA
INTERROGATORIES

INTEROGATORY NO. 1: Identify the person(s) that connected the O2 tube to the wall
in the CT room at the time N.E.D at all time including while was in the CT Scanner room.

ANSWER: It is unknown who, if anyone, connected the O2 tube to the wall in the
CT room while N.E.D, was in the CT Scanner room.

INTERROGATORY NO. 2: Describe the activity of each of the following persons
during the time N.E.D. was in the CT Scanner room from the time she entered until the time she
was taken back to the Emergency Room:

a, Ella Begay;
b. Bonnie Simon;
ce. Richard Tyler;

d. Kelli Coggins;

EXHIBIT

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Case 1:17-cv-00384-JAP-JHR Document 87-1 Filed 05/08/18 Page 2 of 3

of any documents generated, the location of the documents and the substance of such written

documentation.

ANSWER: The United States objects to Plaintiffs’ Interrogatory No. 13, on the
grounds that it is overly broad and unduly burdensome to the extent it seeks a narrative of
information regarding the surrounding circumstances, for which written discovery is not
the proper vehicle. See ¢.g., IBP, Inc. vy. Mercantile Bank, 179 F.R.D. 316, 321 (D. Kan.
1998) (“Other discovery procedures, such as depositions and production of documents,
better address whatever need there be for that kind of secondary detail). Written
interrogatories are not a substitute for depositions, as they serve two different functions.
Bashkin v. San Diego County, 2011 WL 109229, *2, (S.D. Cal. 2011). Plaintiffs deposed Dr.
Philip MacNeil regarding any conversations he had concerning the care and medical
treatment of N.E.D., the details of which can be found in his deposition.

The United States further objects to the extent Plaintiffs seek documents in the form
of an interrogatory. A party may not circumvent the requirements of Fed. R. Civ. P. 24 by
demanding that documents be attached to a response to an interrogatory answer. See ¢.g.,
Kirkland v. Morton Salt Co., 46 F.R.D. 28, 31-32 (N.D. Ga. 1968). Fed. R. Civ. P. 33(d)
provides an option for the responding party to produce its business records in answering an
interrogatory, but the rule is not a license for the requesting party to require production of
documents. In any event, the United States has no responsive documents.

INTERROGATORY NO. 14: For each and every Affirmative Defense alleged in the
United States’ Answer to the First Amended Complaint [Doc. 55], state what facts, evidence, and
theory(ies) you have to support:

1. The United States is immune from suit under Plaintiff's theories of vicarious liability
and respondeat superior because the waiver of sovereign immunity in the FTCA only covers torts
committed by government employees or deemed employees acting within the scope of their
employment.

2. Plaintiff's claims for negligent training and supervision fall under the discretionary
function exception to the waiver of sovereign immunity under the FTCA and therefore are
barred.

3. Even if not barred, Plaintiff has failed to timely exhaust any claims for negligent
training and supervision under 28 U.S.C. § 2675(a).

4, The United States and its agents, employees, and representatives exercised due care
and diligence at all times and in all matters alleged in the First Amended Complaint, and no act
Case 1:17-cv-00384-JAP-JHR Document 87-1 Filed 05/08/18 Page 3 of 3

or failure to act by the United States or its personnel was the proximate cause of the alleged
damages or loss claimed by Plaintiffs.

5. The injuries or damages, or both, alleged in the First Amended Complaint were
proximately caused by the conduct of N.E.D. and/or others who are not employees of the
Defendant.

6. If the United States is liable, which is specifically denied, Plaintiffs’ recovery must be
reduced to the extent acts and omissions of others were the independent, intervening, and
superseding causes of Plaintiffs’ alleged injuries.

7. If the United States is liable, which is specifically denied, Plaintiffs’ recovery must be
reduced to the extent Plaintiffs have failed to mitigate their damages.

8. Ifthe United States is liable, which is specifically denied, Plaintiffs’ recovery must be
reduced to the extent Plaintiffs’ assumption of the risk is attributed to their injuries.

9. If the United States is liable, which is specifically denied, Plaintiffs are limited to $600,000
in past economic and non-economic damages pursuant to NMSA § 41-5-6.

10. This court lacks subject matter jurisdiction over any claims which were not the subject of
an administrative claim timely and properly presented pursuant to 28 U.S.C. § 2675(a).

14, The United States asserts that it has, or may have, additional affirmative or other defenses
which are not known at this time, but which may be ascertained through discovery. Defendant
specifically preserves these and other affirmative or other defenses as they are ascertained through
discovery.

ANSWER: The United States objects to Plaintiffs’ Interrogatory No. 14, on the
grounds that it is overly broad and unduly burdensome to the extent it seeks a narrative of
information regarding Defendant’s facts, evidence, and theory(ies) related to its defenses in
a contention interrogatory. “Contention interrogatories are interrogatories that seek to
clarify the basis for or the scope of an adversary's claims.” Lucero v, Valdez, 240 F.R.D.
591, 594 (D.N.M. 2007) (citations omitted). When used to “systematically track all of the
allegations in an opposing party’s pleadings” or “ask for ‘each and every fact’ and
application of law to fact that supports the party’s allegations,” contention interrogatories
are considered overly broad and unduly burdensome. Id.

INTERROGATORY NO. 15: Identify each and every person who was working on
February 28, 2016 in the GIMC Emergency Room and CT Room for the shift that would
incorporate the times that N.E.D. was treated, including but not limited to, admission and other
non-medical personnel. As to each, please state whether that individual had contact with N.E.D,

and what the contact was.

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